Case 5:22-cv-03732-EJD Document 1-3 Filed 06/24/22 Page 1 of 3




 EXHIBIT 3
                                                                                                        220V398321
                                         Case 5:22-cv-03732-EJD Document
                                                                 Santa Clara —
                                                                              1-3 Filed 06/24/22 Page 2 of 3             Civil
                                                                                                                                                                                                             POS-01 0
     ATTORNEY OR PARTY WITHOUT ATTORNEY                         (Name, State Bar number, and address):                                                                          FOR COURT USE ONLY                    R_ Fle ming
  BAKER & MCKENZIE LLP
— Bradford K. Newman, Esq. (SBN 178902)
      10250 Constellation B1Vd., Suite 1850                                                                                                              EIectronicaIIy FiIed
      Los Angeles, California 90026                                                                                                                                        -


                   TELEPHONE        No.:            201—4758
                                               (3 10)            FAX No. (Optional): (310) 201-4721                                                      by superlor court Of CA!
 E—MAILADDRESS               (Optional):       bradford.newman@bakermckenzie.com                                                                         county 0f santa Clara:
        ATTORNEY FOR           (Name):         DFINITY USA RESEARCH, LLC                                                                                 0n 6/1 [2022 12:52 PM
     SUPERIOR COURT 0F CALIFORNIA, COUNTY 0F                                          SANTA CLARA                                                        Reviewed By: R. Fleming
        STREET ADDRESS: 191 N. Flrst Street
                                                                                                                                                         c ase #chv398321
             MAILING ADDRESS:
                                                                                                                                                         Envelope: 91 141 39
        CITY      AND ZIP CODE:                San Mateo, California 951 13
                  BRANCH NAME:

         PLAINTIFF/PETITIONER:                            DFINITY USA RESEARCH, LLC,                                      etc.; et a1.                      CASE NUMBER:

                                                                                                                                                                                22CV398321
DEFENDANT/RESPONDENT:                                     ERIC BRAVICK, an                     individual; et            a1.

                                                                                                                                                            Ref. No. or File No.:

                                                 PROOF 0F SERVICE 0F SUMMONS                                                                                                        20677441

                                                                  (Separate proof of service              is   required for each party served.)

1.      At the time of service                    |   was    at least    18 years of age and not a party to                 this action.

2.       |    served copies              of:

         a-                    summons
         b                     complaint

         c                    Alternative Dispute Resolution                     (ADR) package
         d.                    Civil      Case Cover Sheet (served in complex cases                              only)



        f
         e         E           cross-complaint

                               other (specify documents): Civil                       Lawsuit Notice

3.      a.                           name ofparty as shown on documents
                  Party served (specify                                                                              served):
                  ERIC       BRAVICK, an individual
         O'
              .
                  E         Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person
                            under item 5b on whom substituted service was made) (specify name and relationship to the party named in item 3a):



4.      Address where the party was served:
             1523 Bee Court, Traverse City, Michigan 49686
5.       |    served the party (check proper box)

        a_                    by personal service.                   |   personally delivered the documents listed                     in   item 2 to the party or person authorized to


         b.        E          receive service of process for the party (1) on (date):

                              by substituted service. On (date):
                              in the presence of (name and title or relationship                               to
                                                                                                                      05/25/2022
                                                                                                                     at (time):

                                                                                                                    person indicated         in
                                                                                                                                                     |




                                                                                                                                                  item
                                                                                                                                                           (2) at (time):

                                                                                                                                                         left

                                                                                                                                                          3):
                                                                                                                                                                the   documents
                                                                                                                                                                                    4:00 p.m. (EDT)
                                                                                                                                                                                      listed in item       2 with or




                              (1)        E            (business) a person
                                                      of the person to
                                                                                   at least

                                                                            be sewed.      |
                                                                                                   18 years of age apparently               in   charge at the
                                                                                                   informed him or her ofthe general nature of the papers.
                                                                                                                                                                       office or usual place of            business



                              (2)        E            (home) a competent member ofthe household (at least 18 years of age) at the dwelling house or usual
                                                      place of abode of the party. informed him or her of the general nature of the papers.
                                                                                               |




                              (3)        E            (physical address          unknown) a person                  at least     18 years of age apparently
                                                      address of the person to be served, other than a United States Postal Service post
                                                                                                                                                                           in   charge at the usual mailing
                                                                                                                                                                                      office box.      |   informed
                                                      him or her of the general nature of the papers.
                              (4)        E            |   thereafter mailed (by first-class, postage prepaid) copies of the                              documents         to the    person     to   be served



                              (5)        E
                                                      at the place

                                                      (date):

                                                      |
                                                                         where the copies were
                                                                                  from   (city):
                                                                                                          left




                                                          attach a declaration of diligence stating actions taken
                                                                                                                 (Code    Civ. Proc.,

                                                                                                                                              or
                                                                                                                                            first
                                                                                                                                                    E
                                                                                                                                            § 415.20). mailed the documents on


                                                                                                                                                    to
                                                                                                                                                                |




                                                                                                                                                      a declaration of mailing is attached.
                                                                                                                                                         attempt personal service.
                                                                                                                                                                                                                Page    1   of2

                                                                                                                                                                                         Code                         §417.10
     Form Adopted     for   Mandatory Use
       Judicial Council of California
                                                                                PROOF OF SERVICE OF SUMMONS                                                                                     of Civil Procedure,

                                                                                                                                                                                                American LegalNet,     Inc.
     POS—010       [Rev. January    1,   2007]                                                                                                                                                  www.FormsWorkﬂow.com
                                            Case 5:22-cv-03732-EJD Document 1-3 Filed 06/24/22 Page 3 of 3
        PLAINTIFF/PETITIONER:                                DFINITY USA RESEARCH, LLC,                                       etc.; et a1.

                                                                                                                                                                            22CV398321
DEFENDANT/RESPONDENT:                                        ERIC BRAVICK, an                         individual; et         a1.




5.   c_           E              by mail and acknowledgment of receipt of service.
                                 address shown                 in   item 4, by first-class mail, postage prepaid,
                                                                                                                        |   mailed the documents            listed in item      2 to the party, to the



                                 (1)       on      (date):                                                                   (2)   from    (city):


                                  (3)      E          with two copies of the Notice                  and Acknowledgment of Receipt and a postage—paid
                                                           me. (Attach completed Notice and Acknowledgement of Receipt.) (Code
                                                                                                                                                                                 return   envelope addressed


                                 (4)       E          to

                                                      to   an address outside California with return receipt requested. (Code
                                                                                                                                                                      Civ. Proc., § 415.30.)

                                                                                                                                                                Civ. Proc.,     § 415.40.)

     d_           E              by other means                     (specify   means     of service      and authorizing code          section):




                  E              Additional           page describing service              is   attached.


6.   The           "Notice to the Person Served" (on the                            summons) was completed as                      follows:

         a.                       as an individual defendant.
                                  as the person sued under the                     fictitious        name   of (specify):
         9.0.6

                   EDD            as occupant.
                                 On        behalf of (specify):
                                  under the following Code of                    Civil   Procedure section:
                                                             416.10 (corporation)                                           E      415.95 (business organization, form unknown)
                                                   E       416.20(defunctcorporation)                                       E      416.60(minor)
                                                   E       416.30      (joint   stock company/association)                  E      416.70 (ward or conservatee)
                                                   E       416.40 (association or partnership)                              E      416.90 (authorized person)
                                                   E       416.50 (public                                                   E      415.46 (occupant)

     Person                  who          served papers
                                                                                 entity)
                                                                                                                            E      other:


     a.           Name: Neil Guttenbel‘g
                  Address:                3855       Hammond Road East,                         Traverse City, Michigan 49686
     9.0-9.0"
                 Telephone number: (23 1)                              360—6567
                 The fee             for service       was: $ 292.50
                  lam:

                   (1)       ‘
                                 I    ‘
                                           not a registered California process server.
                   (2)                     exempt from          registration      under Business and Professions Code section 22350(b).
                   (3)
                                           (i)


                                           (ii)
                                                    E         owner
                                                     Registration No.:
                                                                          E
                                           a registered California process server:
                                                                                  employee             E      independentcontractor.


                                           (iii)     County:

                         I   declare under penalty of perjury under the laws of the State of Nevada that the foregoing                                              is   true   and   correct.


                      0r

9.   E                   l   am      a California sheriff or marshal and                         |   certify that the   foregoing     is   true   and   correct.


Date:            May 27,              2022

NEIL GUTTENBERG
                 (NAME 0F PERSON                 WHo SERVED PAPERS/SHERIFF 0R            MARSHAL)
                                                                                                                                                        '
                                                                                                                                                            ‘
                                                                                                                                                                   'Wﬁ
                                                                                                                                                             WGNATURE            )
                                                                                                                                                                                                 5/27/2022




POS-O1O          [Rev. January       1,   2007]                                                                                                                                                          Page 2 of 2
                                                                                   PROOF OF SERVICE OF SUMMONS
